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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                         Criminal Action No. PX-19-0158
 OWEN NESMITH,
 IRVING HERNANDEZ,
 TODD HOLLOWAY,
 LARNELL MEGGISON,
 LEKEAH PENDLETON

        Defendants.

                       AMENDED PRETRIAL SCHEDULING ORDER

      For the reasons stated during the status conference held on April 22, 2021, and with
agreement of the parties, the Court issues the following pretrial deadlines:

       October 4, 2021 at 10:00 a.m.   Motions Hearing (Owen Nesmith only)

       February 18, 2022               Motions in Limine due

       March 4, 2022                   Responses to Motions in Limine; Joint Voir Dire,
                                       Jury Instructions and Verdict sheet to be filed
                                       electronically and submitted via email in
                                       Microsoft Word format to chambers:
                                       Mdd_pxchambers@mdd.uscourts.gov

                                        (Government responsible for filing; Defendants
                                       to indicate proposed changes in redline format.)

       March 11, 2022                  Government to provide Jencks and Giglio to
                                       Defendant

       March 18, 2022 at 3:00 p.m.     Pre-trial Conference/Hearing on Motions in
                                       Limine/voir dire and jury instructions

       April 4, 2022                   Trial begins. Expected length: 3 weeks (Mon. –
                                       Fri.)


       Dated: May 3, 2021                                      /S/
                                                   Paula Xinis
                                                   United States District Judge
